        Case 3:23-cr-00165-SVN         Document 186        Filed 02/04/25       Page 1 of 4




                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                     Case No.: 3:23cr165(SVN)

v.

JALEN LASALLE                                                )HEUXary , 2025

                                     RESTITUTION ORDER

I.      Restitution Liability

      A. Restitution Amount

       The Defendant, Jalen Lasalle, shall pay restitution in the amount of $ 5,625.84 pursuant
to 18 U.S.C. § 3663A.

        ; This amount does not include prejudgment interest.
      B. Joint and Several Liability

        ; Restitution amount is joint and several with co-defendant John Villegas in case
        number 3:23cr165(SVN).
        ‫ ܆‬Restitution is joint and several with defendant(s) not presently named.
                                              -OR-
        ‫ ܆‬The Court has apportioned liability among the defendants to reflect the level of
contribution to the victim’s loss and the economic circumstances of each defendant, as follows:
___________________________________.

      C. Identification of Victims

       Restitution shall be paid to the victim(s) identified in Schedule A attached hereto on a pro
rata basis, unless otherwise specified in Schedule A.

II.     Interest (Check One) and Penalties

        ; All interest is waived.
        ‫ ܆‬The Defendant shall pay interest on any restitution amount of more than $2,500.00,
unless restitution is paid in full before the fifteenth day after the date of the judgment, unless
directed as follows: N/A.

        ; All penalties are waived by the Government pursuant to 18 U.S.C. § 3612(h).

                                                1
          Case 3:23-cr-00165-SVN         Document 186       Filed 02/04/25     Page 2 of 4




III.      Time and Method of Payment

        Pursuant to 18 U.S.C. §§ 3572 and 3664(f)(2), in consideration of (1) the financial
resources and other assets of the Defendant, including whether any of these assets are jointly
controlled; (2) projected earnings and other income of the Defendant; and (3) any financial
obligations of the Defendant, including obligations to dependents, the Defendant is hereby
ordered to pay restitution in the manner and according to the schedule that follows:

       A. An Initial Lump Sum Payment of $5,625.84 is due and payable by February 28, 2025. If
          defendant is unable to make any or all of the payment, defendant shall pay in accordance
          with Section B below.

       B. Any remaining balance is due and payable according to the following schedule:

         1. While serving any term of imprisonment, the Defendant

             ; shall not be required to make restitution payments; or

             ‫ ܆‬shall make installment payments as follows:
         2. After completion of the term of imprisonment or if the Defendant is not sentenced to a
            term of imprisonment, the Defendant shall make installment payments as follows:

             Any remaining balance is payable at a rate of not less than 10% of Defendant’s gross
             monthly income, whichever is greater. The monthly payment schedule may be
             adjusted based on Defendant’s ability to pay as determined by the probation officer
             and approved by the Court.

IV.       Payment Instructions

        The Defendant shall make payment to the Clerk of Court. Payment may be made in the
form of cash, check or money order. All payments by check or money order shall be made
payable to the “Clerk, United States District Court,” and each check shall be delivered to the
United States District Court, Attention: Clerk’s Office, 141 Church Street New Haven as
required by 18 U.S.C. § 3611. The Defendant shall write the docket number of this case on each
check delivered to the Clerk’s Office. Any cash payments shall be hand delivered to the Clerk’s
Office using exact change, and shall not be mailed. Payments can be made through Pay.gov,
using a checking or savings account (ACH) or credit, debit, and prepaid cards. Before making
payments on-line, debtors should self-enroll on the Pay.gov. Instructions on how to self-enroll
and make payments on-line are on the court's website at: http://www.ctd.uscourts.gov/payment-
information.




                                                  2
       Case 3:23-cr-00165-SVN           Document 186        Filed 02/04/25      Page 3 of 4




       The Clerk shall distribute restitution payments to the victim(s) identified in this order in
accordance with the District’s Standing Order on the Disbursement of Restitution Payments by
the Clerk of Court.

V.     Additional Provisions

         The Defendant shall notify the Court, the United States Probation Office (during any
period of probation or supervised release), and the United States Attorney’s Office, of any
material change in the Defendant’s economic circumstances that might affect the Defendant’s
ability to pay restitution in accordance with 18 U.S.C. § 3664(k).

       The Defendant shall notify the Court, the United States Probation Office (during any
period of probation or supervised release), and the United States Attorney’s Office, of any
change in address.

        The Defendant shall apply to any restitution still owed the value of any substantial
resources from any source the defendant receives during the period of incarceration, including
inheritance, settlement or other judgment in accordance with 18 U.S.C. § 3664(n).

       Nothing in this order shall prevent the Bureau of Prisons from implementing restitution
payments in accordance with its Inmate Financial Responsibility Program (“IFRP”), 28 U.S.C. §
545.10 et seq. up to the maximum amount permitted under the IFRP guidelines.

       It is so ordered.

       Dated at Hartford, Connecticut on this WK day of )HEUXary, 2025.
                                                                     Digitally signed by Sarala
                                                      Sarala V.      V. Nagala

                                                      Nagala         Date: 2025.02.04
                                                      ____________________________________
                                                                     13:34:30 -05'00'

                                                      HON. SARALA V. NAGALA
                                                      United States District Court Judge




                                                  3
      Case 3:23-cr-00165-SVN   Document 186    Filed 02/04/25   Page 4 of 4




                                  Schedule A

S.C. - $1,545.56
J.B. - $1,924
D.N. - $2,156.28




                                      4
